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 6 Attorney for Defendant

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 8

 9                          UNITED STATES DISTRICT COURT
10
                 FOR THE EASTERN DISTRICT OF CALIFORNIA (FRESNO)
11

12 UNITED STATES OF AMERICA,                )       Case No.: CR 17-00188-LJO-SKO
                                            )
13                        Plaintiff,        )
14
            v.                              )
                                            )       ORDER
15 WILLIAM JAMES FARBER,                    )
                                            )
16                                          )
                          Defendant.        )
17                                          )
18
            GOOD CAUE APPEARING THEREFOR;
19          IT IS HEREBY ORDERED that the defendant may have an extension of time
20 to post his bond to September 5, 2017.

21
     IT IS SO ORDERED.
22

23 Dated:        August 29, 2017
                                                UNITED STATES MAGISTRATE JUDGE
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